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                IN THE UNITED STATES DISTRICT COURT FOR
                        THE DISTRICT OF COLUMBIA
____________________________________

EZEQUIEL RAMIREZ

       Plaintiff,

v.                                                    Case No. 1:15-cv-01464-CRC

TOP CHEF, INC., et al.

      Defendants.
____________________________________

                        NOTICE OF SETTLEMENT AND
               CONSENT MOTION TO CANCEL STATUS CONFERENCE

       Plaintiff hereby notifies the Court that the parties have reached a settlement of this matter

that should be consummated no later than April 18, 2016.

       Accordingly, Plaintiff, with consent of Defendants, moves the Court to Cancel the status

conference currently set for March 31, 2016. The parties will file a stipulation of dismissal of this

matter no later than April 18, 2016.



Date: March 25, 2016                          Respectfully submitted,

                                              /s/Justin Zelikovitz_________
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